             Case 1:23-cv-08853-JRC Document 4 Filed 12/01/23 Page 1 of 4 PageID #: 21

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  New  York
                                                                           __________

     ARIYA SAECHAN, MANEERUT INPEN, and                              )
       NATTAKARN PATTARAWEERAWAT,                                    )
                                                                     )
                            Plaintiffs,
                                                                     )
                            against –
                          - Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 23-8853 JRC
     SANGSERI, INC., d/b/a LEMONGRASS; and                           )
     SANGSERI,
        DARARADINC., d/b/a LEMONGRASS;
                 RUNGPOD,     indi¬vidually;and                      )
        DARARAD RUNGPOD, individually;
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SANGSERI, INC.
                                          156 Court Street
                                          Brooklyn, New York 11201




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                          ROBERT HALPERN, Esq.
                                          18 W. Gowen Avenue
                                          Philadelphia, PA 19119



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT

            12/1/2023                                                         s/Kimberly Davis
Date:
                                                                                        Signature of Clerk or Deputy Clerk
              Case 1:23-cv-08853-JRC Document 4 Filed 12/01/23 Page 2 of 4 PageID #: 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 23-8853

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
             Case 1:23-cv-08853-JRC Document 4 Filed 12/01/23 Page 3 of 4 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  New  York
                                                                           __________

     ARIYA SAECHAN, MANEERUT INPEN, and                              )
       NATTAKARN PATTARAWEERAWAT,                                    )
                                                                     )
                            Plaintiffs,
                                                                     )
                            against –
                          - Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 23-8853 JRC
     SANGSERI, INC., d/b/a LEMONGRASS; and                           )
     SANGSERI,
        DARARADINC., d/b/a LEMONGRASS;
                 RUNGPOD,     indi¬vidually;and                      )
        DARARAD RUNGPOD, individually;
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DARARAD RUNGPOD
                                          156 Court Street
                                          Brooklyn, New York 11201

                                          Alternative Address:
                                          4169 69th Street
                                          Queens, New York 11377

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                      ROBERT HALPERN
                                      18 W. Gowen Avenue
                                      Philadelphia, PA 19119




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT


             12/1/2023                                                        s/Kimberly Davis
Date:
                                                                                        Signature of Clerk or Deputy Clerk
              Case 1:23-cv-08853-JRC Document 4 Filed 12/01/23 Page 4 of 4 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 23-8853

                                                     PROOF OF SERVICE
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           This summons for (name of individual and title, if any)
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           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
